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IN"THE'UNITED STATES DISTRICT CoURT
VFOR THE DISTRICT oF DELAWARE

 

 

 

 

` PATRI_oT NATIoNAL, lNc., er al., CaS€ NO~ 18'.1_91'39- (K'G)
w v v ,. >Debtors_ (Jointlv Administere_d) l - '
7 James Baca,
Plaintiff,
v. Civil Action No. l8-9l9-RGA
Contego Services Group, LLC, et al.
Defendants.
NOTICE OF APPEARANCE

 

PLEASE TAKE NOTICE that Toni Gott, a defendant in the above-captioned
proceeding (the “Defendant”), hereby appears through counsel, Pachulski Stang Ziehl & J ones
LLP (“_l§Z_l”). PSZJ hereby requests that copies of all papers given or required to be given in
this case and copies of all papers served or required to be Served, be given and Served upon the
Defendant through service upon PSZJ, at the addresses, telephone numbers, facsimile numbers,

and electronic mail addresses set forth below.

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Dated: July 31, 2018
Wilmington, Delaware

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